






IN THE COURT OF APPEALS, THIRD DISTRICT OF TEXAS,



AT AUSTIN




                        





NO. 3-92-139-CR





LESLIE WAYNE ROHAN,


	APPELLANT



vs.





THE STATE OF TEXAS,



	APPELLEE


                        



FROM THE DISTRICT COURT OF CALDWELL COUNTY, 22ND JUDICIAL DISTRICT



NO. 91-080, HONORABLE ROBERT T. PFEUFFER, JUDGE PRESIDING



                        




PER CURIAM


	This is an appeal from a conviction for sexual assault.  Punishment was assessed
at confinement for 10 years and a $10,000 fine, probated.

	Appellant has filed a motion to withdraw the appeal.  No decision of this Court has
been delivered.  The motion is granted and the appeal is dismissed.  See Tex. R. App. P. Ann.
59(b) (Pamph. 1990).



[Before Chief Justice Carroll, Justices Aboussie and B. A. Smith]

Dismissed on Joint Motion

Filed:   May 20, 1992

[Do Not Publish]


